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                                                                                    1 Amir Shlesinger (SBN 204132)
                                                                                        Farah Tabibkhoei (SBN 266312)
                                                                                    2 Sarah B. Johansen (SBN 313023)
                                                                                        REED SMITH LLP
                                                                                    3 355 South Grand Ave., Suite 2800
                                                                                        Los Angeles, CA 90071-1514
                                                                                    4 Telephone: +1 213 457 8000
                                                                                        Facsimile: +1 213 457 8080
                                                                                    5
                                                                                        Attorneys for Defendant
                                                                                    6 UnitedHealthcare Insurance Company

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                                                                                                              UNITED STATES DISTRICT COURT
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                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                                           FIRST STREET FEDERAL COURTHOUSE
                 A limited liability partnership formed in the State of Delaware




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                                                                                        Namdy Consulting, Inc.,                Case No.: 2:18-cv-1283 RSWL (KSx)
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                                                                                                         Plaintiff,          DEFENDANT
                                                                                   13                                        UNITEDHEALTHCARE
                                                                                            vs.                              INSURANCE COMPANY’S
                                                                                   14                                        STATEMENT OF NON-
                                                                                      UnitedHealthcare Insurance Company and OPPOSITION AND REPLY IN
                                                                                   15 DOES 1-20.                             SUPPORT OF ITS MOTION TO
                                                                                                                             DISMISS PLAINTIFF’S
                                                                                   16                   Defendants.          COMPLAINT
                                                                                   17                                          Hearing Date:    May 1, 2018
                                                                                                                               Time:            10:00 a.m.
                                                                                   18                                          Courtroom:       TBD
                                                                                   19                                          Compl. Filed:    November 30, 2017
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                                                                                             DEFENDANT’S STATEMENT OF NON-OPPOSITION AND REPLY IN
                                                                                             SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                                                                    1        Plaintiff NAMDY Consulting, Inc. (“NAMDY”) has failed to oppose
                                                                                    2 Defendant UnitedHealthcare Insurance Company’s (“UHIC”) Motion to Dismiss (the

                                                                                    3 “Motion”), thereby conceding its merit, and accordingly UHIC’s unopposed Motion

                                                                                    4 should be granted.

                                                                                    5        On March 23, 2018, UHIC filed its Motion to Dismiss Plaintiff’s Complaint.
                                                                                    6 [Doc. 7-1] Plaintiff’s deadline to file a response was April 10, 2018. See L.R. 7-9.

                                                                                    7 As of the date of this filing, Plaintiff has not filed or served an opposition to UHIC’s

                                                                                    8 Motion.

                                                                                    9        NAMDY’s failure to oppose UHIC’s Motion suggests that Plaintiff concedes
                                                                                   10 UHIC’s Motion is meritorious and should be granted. See L.R. 7-12 (“The Court may
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                                                                                   11 decline to consider any memorandum or other document not filed within the deadline

                                                                                   12 set by other or local rule. The failure to file any required document, or the failure to
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                                                                                   13 file it within the deadline, may be deemed consent to the granting or denial of the

                                                                                   14 motion . . . .”); see also Silva v. U.S. Bancorp, 2011 WL 709657, at *3 (C.D. Cal. Oct.

                                                                                   15 6, 2011) (“[T]he Court finds that Plaintiff concedes his . . . claim should be dismissed

                                                                                   16 by failing to address Defendants’ arguments in his Opposition.”); Saba v. Caplan,

                                                                                   17 2010 WL 4235473, at *1 (N.D. Cal. Oct. 21, 2010) (“failure to file an opposition to a

                                                                                   18 motion to dismiss in contravention of the local rules . . . is grounds for granting the

                                                                                   19 motion”) (citing Ghazali v. Moran, 46 F.3d 52, 53 (9th Cir. 1995)); Wooten v.

                                                                                   20 Countrywide Home Loans Inc., 2012 WL 346460, at *5 (E.D. Cal. Feb. 1, 2012)

                                                                                   21 (same) (citing Herzberg v. County of Plumas, 133 Cal. App. 4th 1, 20 (2005)).

                                                                                   22        As discussed in detail in UHIC’s Motion, NAMDY’s claims all fail:
                                                                                   23        (1) NAMDY Lacks Standing Because Its Allegations Of An Assignment
                                                                                   24 Are Insufficient. NAMDY has not pled any facts to support its alleged assignment

                                                                                   25 from the unnamed Physicians in this case. NAMDY does not attach or quote

                                                                                   26 language from the alleged assignments, does not plead the terms or scope of the

                                                                                   27 assignment, and does not even allege whether there are multiple assignments for each

                                                                                   28 provider or a universal assignment. Nor does NAMDY identify the alleged assignors,

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                                                                                            DEFENDANT’S STATEMENT OF NON-OPPOSITION AND REPLY IN
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                                                                                    1 when the assignments were effectuated, or which alleged accounts receivable or

                                                                                    2 claims for reimbursement were assigned. Rather, NAMDY merely concludes that it is

                                                                                    3 “an assignee of certain medical groups, physicians, or health care providers” and was

                                                                                    4 assigned their “right to payment.” (Compl., ¶¶ 3-4.) However, these allegations are

                                                                                    5 insufficient to assert any valid cause of action.

                                                                                    6         (2) Even If NAMDY Had Standing (It Does Not), Its Conclusory
                                                                                    7 Allegations Fail To State A Valid Claim For Relief. NAMDY’s entire Complaint

                                                                                    8 consists of conclusory allegations and is devoid of any factual support. NAMDY fails

                                                                                    9 to identify the specific medical claims at issue, when the alleged services were

                                                                                   10 provided, to whom, the amounts of any claim, the nature of the claims or even the
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                                                                                   11 precise number of claims at issue. NAMDY’s Complaint does not put UHIC on

                                                                                   12 notice of what specific conduct or transactions are at issue, and the Complaint is
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                                                                                   13 therefore defective.

                                                                                   14        (3) Each of NAMDY’s Claims Fail Because It Is Based On The Faulty
                                                                                   15 Premise That UHIC Has An Obligation To Pay The Physicians Under The Knox-

                                                                                   16 Keene Act, When In Fact The Knox-Keene Act Does Not Apply To UHIC.

                                                                                   17 NAMDY’s Complaint is premised on the false assumption that UHIC has an

                                                                                   18 obligation to pay the Physician based on provisions in the Knox-Keene Act and its

                                                                                   19 related regulations. UHIC, however, is an insurance company “licensed by the

                                                                                   20 Department of Insurance.” (Compl., ¶ 5.) The Knox-Keene Act does not apply to

                                                                                   21 such entities, but applies to health plans that are regulated by the Department of

                                                                                   22 Managed Health Care (“DMHC”).

                                                                                   23        Additionally, NAMDY’s causes of action each fail for independent reasons:
                                                                                   24        (4) Recovery for Services Rendered – This claim fails because NAMDY does
                                                                                   25 not allege that UHIC made a specific request for services or benefitted from the

                                                                                   26 services.

                                                                                   27        (5) Quantum Meruit – This claim fails because NAMDY does not allege that
                                                                                   28 UHIC made a specific request for services or benefitted from the services.

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                                                                                            DEFENDANT’S STATEMENT OF NON-OPPOSITION AND REPLY IN
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                                                                                    1         (6) Open Book Account – This claim fails because NAMDY makes no
                                                                                    2 allegations of a mutual agreement to maintain a book account of credits and debits as

                                                                                    3 to any claim, nor an indebtedness of a sum certain, all of which are essential elements

                                                                                    4 of a claim for open book account.

                                                                                    5         (7) Breach of Implied Contract – This claim fails because NAMDY fails to
                                                                                    6 plead any meeting of the minds. NAMDY has not pled any words or conduct by

                                                                                    7 UHIC indicating that it agreed to pay for the services and it certainly did not promise

                                                                                    8 to pay 100% of the Physicians’ full, billed charges for any of the purported medical

                                                                                    9 services at issue. There are also no allegations that NAMDY contacted UHIC before

                                                                                   10 providing the services. To the extent NAMDY relies on alleged authorization of
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                                                                                   11 services, it is well-settled that neither the verification of eligibility nor authorization of

                                                                                   12 benefits constitutes a promise to pay.
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                                                                                   13         (8) Declaratory Relief – This claim fails because it is not an independent
                                                                                   14 cause of action and it is duplicative of NAMDY’s other claims for relief.

                                                                                   15         (9) Intentional Interference With Prospective Economic Advantage - This
                                                                                   16 claim fails because UHIC is not a stranger to the Physicians’ economic relationship

                                                                                   17 with its patients or to UHIC’s own contracts with its insureds, which NAMDY alleges

                                                                                   18 underlies UHIC’s payment obligation. Further, NAMDY has not pled any

                                                                                   19 independently wrongful conduct to support its claim or sufficiently alleged facts

                                                                                   20 showing UHIC was certain or substantially certain that its actions would cause an

                                                                                   21 interference.1

                                                                                   22         For all of these reasons, the Court should grant UHIC’s Motion to Dismiss in its
                                                                                   23 entirety.

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                                                                                   27 1 As set forth in the Motion, NAMDY stipulated to withdraw its claim for negligence

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                                                                                        per se claim. See Doc. 7-1 at 11.

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                                                                                             DEFENDANT’S STATEMENT OF NON-OPPOSITION AND REPLY IN
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                                                                                    1 DATED: April 12, 2018               REED SMITH LLP
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                                                                                                                          By      /s/ Farah Tabibkhoei
                                                                                    3                                          Amir Shlesinger
                                                                                                                               Farah Tabibkhoei
                                                                                    4                                          Sarah B. Johansen
                                                                                                                               Attorneys for Defendant
                                                                                    5                                          UnitedHealthcare Insurance Company
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                                                                                            DEFENDANT’S STATEMENT OF NON-OPPOSITION AND REPLY IN
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